           Case: 1:17-cv-07781 Document #: 23 Filed: 02/22/19 Page 1 of 1 PageID #:106



                      United States District Courtfor the Northern District of lllinois


        Case     Number:17cv7781                                     Assigned/Issued By: DJ

        Judge Name: LEIN ENWEBER                                     Designated Magistrate Judge: WEISMAN



                                                            FEE INFORMATION


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                                                                ISSUANCES

        tr Summons                                                             trJ     Alias summons
                                                                                             Summons
                                                                                 -l
        tr Third Party Summons                                                 trJ     Lis Pendens

        tr        Non Wage Garnishment                 Summons                 H-J     Abstract of Judgment
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        n         Wase-DeductionGarnishmentSummons


        A         Citation to Discover            Assets                                    (Victim, Against and $ Amount)
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 (DENNTS A BREBNER & ASSOCTATES). NOTICES FTLED.
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